     Case: 1:23-cv-05017 Document #: 53 Filed: 10/06/23 Page 1 of 2 PageID #:319
               [f you need additional space for ANY section, please attach an additional sheet and reference that section.]          5s
                                     UNITED STATES DISTRICT COURT
                                                                                                           FTL E fD
                                     NORTHERII DISTRICT OF ILLINOIS                                                  OCT o o jirs   )c
 frtli B^7                                                                                                       THOMAS G. BRUTON
                                                                                                             CLERK, U.S. QtSJRtgT qpURT
Plaintiff(s)
                                                                      caseNumber: f l             )3 - CU -O5 0l 7
          V.


A ,*hr, I f^llerc o,t                                                            Judge: filotSO
Defendant(s


                     MOTION FOR ATTORNEY REPRESENTATION
          (NOTE: Failure to complete all items may result in the denial of this motion. )

1.        I,                                                                declare that I am the (check appropriate box)
          tr plaintiff         ndant in this case and that I am unable to afford the services of an
          attorney. I hereby ask the Court for an attorney to represent me in this case.

2.        I declare that I have contacted the following attorneys/organizatiors seeking representation: Hitbl:r?
                       T,*b"-tr:o].1$.) K;ry berlq tp fe Z *icc o( ch',lb*
          (NorE: rhis item
                   trs lefar+fi\qo+ o{ Sl*tfe,,
           5-5sv€6                                i l,'lin)r,,g kgal fr.,J
             Cqr f L5 Adlhor'.t 1 J osefl ,n
                                                   "sIe;; ;"d Grovf LLc
          but I have been unable to find an attorney because:

           f- cc^P rDoJ atlefl l- fal
3.        I declare that (check all that apply):
          (Now:)z
                  I a,m      currently represented by an attorney requested by the Court in any federal
          V             ,not
                  criminal or civil case.
          -OR
          tr      I am currently represented by an attorney requested by the Court in a federal criminal
                  or civil case. The case is described on the back of this page.

          (Earlier: )
          W        I have nor previously been represented by an attorney requested by the Court in any
          r-r-r federal    criminal or civil case.
          OR
          tr           I have previously been represented by an attorney requested by the Court in a federal
                       criminal or civil case. The case is described on the back of this page.

4.        I d6tare that (check .one):
                       I have attached an original Application for Leave to Proceed In Forma Pauperis
          M            detailing my financial status.

Rev. 06/2112016



               1f you need additional space for ANY section, please attach an additional sheet and reference that section.l
     Case: 1:23-cv-05017 Document #: 53 Filed: 10/06/23 Page 2 of 2 PageID #:320
            [f you need additional space for ANY section, please attach an additional sheet and reference that section.l



          T          I have previously filed an Application for Leave to Proceed In Forma Pauperis in this
                     case, and it is still true and correct.


          T          I have previously filed an Application for Leave to Proceed In Forma Pauperis in this
                     case. However, my financial status has changed and I have attached an Amended
                     Application to Proceed In Forma Pauperis to reflect my current financial status.

5.                   I declare that my highest level of education is (check one):

                      tr Grammar school                      E Some high school                       tr High school graduate
                      E/Some college                         tr College graduate                      tr Post-graduate
6.                   I declare that my ability to speak, write, and/or read English is limited because
                     English is not my primary language. (Check only if applicable.)

7,                   I declare that this form and/or other documents in this case were prepared with the
                     help of an attorney frorn the U.S. District Court Pro Se Assistance Program. (Check
                     only if applicable.)

8.                   I declare under penalty of perjury that the foregoing is true and correct.
          d

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Date                                                           City, State, Zip

Other cases in which an attorney requested by this Court has represented me:




Attorney's Name:                                                     This case is still pending E Yes tr No

The appointment was limited to settlement assistance: E Yes E No
Case   Name:                                                                               Case No.:

Attomey's Name:                                                      This case is still pending E Yes tr No

The appointment was limited to settlement assistance: E Yes E No


Attorney's Name:                                                     This case is still pending EI Yes tr No

The appointment was limited to settlement assistance: E Yes tr No




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